Case: 1:22-cv-03998 Document #: 50 Filed: 03/16/23 Page 1 of 9 PagelD #:191

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS —

EASTERN DIVISION
DENA NATOUR for MINOR HADI
ABUATELAH
Plaintiff No. 22 CV 03998
V.

Hon. Judge Steven Seeger
CHIEF OF OAKLAWN POLICE DANIEL
VITTORIO, OFFICER B. COLLINS
OFFICER P. ODONNELL, OFFICER

M. HOLLINGSWORTH and THE VILLAGE
OF OAK LAWN

Defendant.

MOTION FOR MODIFICATION OF ORDER TO STAY

Now comes the Plaintiff, Dena Natour, for Minor Hadi Abuatelah, by and through her
attorney Zaid Abdallah requests that this Honorable Court enter an order modifying the stay
entered on December 12, 2022, to allow the Plaintiff to depose Myriah Deal. In support of the

motion, Plaintiff states as follows:

INTRODUCTION

Dena Natour filed this cause of action against the Defendants on behalf of her minor son
Hadi Abuatelah. The suit arose out of the arrest of Hadi Abuatelah by Defendant Officers B.
Collins, P. O’Donnell, and M. Hollingsworth. Myriah Deal, a civilian witness, recorded the
incident on her cell phone camera. This Honorable Court entered a stay of all oral discovery and
discovery directed to the Defendant Officers pending the Illinois State Police investigation of the
minor’s arrest. The Cook County State’s Attorney’s Office returned an indictment against
Defendant Officer Patrick O’ Donnell for two counts of aggravated battery and two counts of

official misconduct. See Attached Exhibit A.
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DISCUSSION

The purpose of the previously entered stay is to protect the Defendant Officers’ Fifth
Amendment Rights against self-incrimination. The deposition of Myriah Deal will not harm the
Defendant Officers’ rights against self-incrimination since they are not the ones testifying.
Additionally, all parties know what Ms. Deal will testify to as Plaintiffs counsel did tender a
statement from Ms. Deal to Defendants. See Exhibit B.

When deciding to implement a stay, one of the factors the Court should consider is the
prejudice to the plaintiff's case. Cruz v. County of DuPage, 1997 WL 370194 (N.D. Ill. 1997).
Myirah Deal is the eyewitness that recorded the incident. Plaintiff's counsel is unaware of other
clear video footage, nor is Plaintiff's counsel aware of a witness with such a clear vantage point
of the incident. Myriah Deal is the Plaintiffs whole case. If the criminal matter is prolonged and
Plaintiff loses contact with Ms. Deal, this can have dire consequences for Plaintiff's case. If this
Court allowed the deposition, it would allow Plaintiff to lock in Ms. Deal’s testimony under oath
and not affect the Defendant Officers’ rights against self-incrimination.

CONCLUSION

The purpose of the stay is to protect the Fifth Amendment Rights of the Defendant
officers, which is the right against self-incrimination. There is no way the Defendant Officers
will incriminate themselves through the deposition of Myriah Deal. Additionally, if Plaintiff is
not allowed to depose Ms. Deal and cannot find her after the completion of the criminal case

against Defendant O’ Donnell, this would cause severe prejudice to Plaintiff's case.
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WHEREFORE, Plaintiff requests this Honorable Court to allow the deposition of

Myriah Deal.

Plaintiff Dena Natour, on behalf of
minor Hadi Abuatelah

/s/ Zaid Abdallah

Zaid Abdallah
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GENERAL NO. 23CR0210701
CIRCUIT COURT OF COOK COUNTY
COUNTY DEPARTMENT
CRIMINAL DIVISION
DECEMBER 2022

The People of the State of

a ORIGINAL
INDICTMENT FOR Do NOT REMOVE

i
G.J. NO. 1062
1
1

Patrick O'Donnell

A TRUE BILL

AGGRAVATED BATTERY
Foreman of the Grand Jury

WITNESS

Sergeant Michael Martin #324 |

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G.J. = DECEMBER 2022 1062 | RETURNED: pO

Case: 1:22-cv-03998 Document #: 50 Filed: 03/16/23 Page 5 of 9 PagelD #:195

STATE OF ILLINOIS )
) SS.
COUNTY OF COOK )

The DECEMBER 2022)|Grand Jury of the
Circuit Court of Cook County,

The Grand Jurors chosen, selected and sworn, in and for the County of
Cook, in the State of Illinois, in the name and by the authority of the
People of the State of Illinois, upon their oaths present that on or about
July 27, 2022 at and within the County of Cook

Patrick O'Donnell
|

committed the offense of AGGRAVATED BATTERY
1

in that HE, IN COMMITTING A BATTERY, | OTHER THAN BY THE DISCHARGE OF A
FIREARM, KNOWINGLY CAUSED BODILY HARM TO H.A., TO WIT: STRUCK H.A. ABOUT
THE HEAD AND FACE WITH A CLOSED FIST| CAUSING FACTAL CONTUSIONS AND
ABRASIONS, NASAL BONE FRACTURE, AND SUBDURAL HEMORRHAGE, WHILE THEY WERE
ON OR ABOUT A PUBLIC WAY, TO WIT: THE STREET, LOCATED AT 9500 SOUTH
MCVICKER AVENUE IN OAK LAWN, COOK COUNTY, ILLINOIS,

IN VIOLATION OF CHAPTER 720 ACT 5 SECTION 12-3.05(c) OF THE ILLINOIS
COMPILED STATUTES 1992 AS AMENDED a

contrary to the Statute and against Ithe peace and dignity of the same
People of the State of Illinois.

COUNT NUMBER 1
CASE NUMBER 23CR0210701
CHARGE! ID CODE: 0016104

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G.J. = DECEMBER 2022 1062 RETURNED:
Case: 1:22-cv-03998 Document #: 50 Filed: 03/16/23 Page 6 of 9 PagelD #:196

The Grand Jurors chosen, selected and sworn, in and for the County of
Cook, in the State of Illinois, in the name and by the authority of the
People of the State of Illinois, upon their oaths present that on or about
July 27, 2022 at and within the County of Cook

I
Patrick O'Donnell

committed the offense of AGGRAVATED BATTERY

in that HE, IN COMMITTING A BATTERY, | OTHER THAN BY THE DISCHARGE OF A
FIREARM, KNOWINGLY CAUSED GREAT BODILY HARM TO H.A., TO WIT: STRUCK H.A.
ABOUT THE HEAD AND FACE WITH A CLOSED FIST CAUSING FACIAL CONTUSIONS AND
ABRASIONS, NASAL BONE FRACTURE, AND SUBDURAL HEMORRHAGE,

IN VIOLATION OF CHAPTER 720 ACT 5 SECTION 12-3.05(a) (1) OF THE ILLINOIS
COMPILED STATUTES 1992 AS AMENDED AND

|
contrary to the Statute and against the peace and dignity of the same
People of the State of Illinois.

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COUNT NUMBER 2
CASE NUMBER 23CR0210701
CHARGE| ID CODE: 0016094

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G.J. = DECEMBER 2022 1062 RETURNED:
Case: 1:22-cv-03998 Document #: 50 Filed: 03/16/23 Page 7 of 9 PagelD #:197

The Grand Jurors chosen, selected and sworn, in and for the County of
Cook, in the State of Illinois, in the name and by the authority of the
People of the State of Illinois, upon their oaths present that on or about
July 27, 2022 at and within the County of Cook

Patrick O'Donnell
|

committed the offense of OFFICIAL MISCONDUCT

in that HE, A PUBLIC EMPLOYEE IN HIS: OFFICIAL CAPACITY, TO WIT: A POLICE
OFFICER FOR THE OAK LAWN POLICE DEPARTMENT, KNOWINGLY PERFORMED AN ACT
WHICH HE.KNEW WAS FORBIDDEN BY LAW TO PERFORM, TO WIT: HE COMMITTED THE
OFFENSE OF AGGRAVATED BATTERY ON A PUBLIC WAY (720 ILCS 5/12-3.05(c)) WHEN
HE KNOWINGLY STRUCK H.A. ABOUT THE FACE AND HEAD CAUSING FACIAL CONTUSIONS
AND ABRAISONS, NASAL BONE FRACTURE, AND SUBDURAL HEMORRHAGE, ON A PUBLIC
WAY, TO WIT: THE STREET AT 9500 SOUTH MCVICKER AVENUE, OAK LAWN, COOK

COUNTY, ILLINIOS |

IN VIOLATION OF CHAPTER 720 ACT 5 SECTON 33-3(a) (2) OF THE ILLINOIS
COMPILED STATUTES 1992 AS AMENDED

contrary to the Statute and against |the peace and dignity of the same
People of the State of Illinois.

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COUNT |NUMBER 3
CASE NUMBER 23CR0210701
CHARGE ID CODE: 0017902

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G.J. = DECEMBER 2022 1062 RETURNED:
Case: 1:22-cv-03998 Document #: 50 Filed: 03/16/23 Page 8 of 9 PagelD #:198
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The Grand Jurors chosen, selected and sworn, in and for the County of
Cook, in the State of Illinois, in the name and by the authority of the
People of the State of Illinois, upon their oaths present that on or about

July 27, 2022 at and within the County of Cook

Patrick O'Donnell

committed the offense of OFFICIAL MISCONDUCT

in that HE, A PUBLIC EMPLOYEE IN HIS! OFFICIAL CAPACITY, TO WIT: A POLICE
OFFICER FOR THE OAK LAWN POLICE DEPARTMENT, KNOWINGLY PERFORMED AN ACT
WHICH HE KNEW WAS FORBIDDEN BY LAW TO PERFORM, TO WIT: HE COMMITTED THE
OFFENSE OF AGGRAVATED BATTERY CAUSING GREAT BODILY HARM, WHEN HE KNOWINGLY
STRUCK H.A. ABOUT THE FACE AND HEAD CAUSING FACIAL CONTUSIONS AND
ABRAISONS, NASAL BONE FRACTURE, AND poaee HEMORRHAGE,

IN VIOLATION OF CHAPTER 720 ACT 5 SECTON 33-3(a) (2) OF THE ILLINOIS
COMPILED STATUTES 1992 AS AMENDED |

contrary to the Statute and against |the peace and dignity of the same
People of the State of Illinois.

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COUNT NUMBER 4
CASE NUMBER 23CR0210701
CHARGE ID CODE: 0017902

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G.J. = DECEMBER 2022 1062 RETURNED:
Case: 1:22-cv-03998 Document #: 50 Filed: 03/16/23 Page 9 of 9 PagelD #:199

Winters investigations
53 w. Jackson #1410
Chicago IL. 60604

773-580-5410
Date: August 18, 2022
Present: Myriah Deal, Ronald Winters

Location: 33 T4owe 84 SChicawon IE,

I Ronald Winters spoke with Myriah Deal on August 18, 2022, an
incident between a young man named Hadi Abuatelah and some Oak Lawn
police officers on July 27, 2022. Myriah Deal agreed to voluntarily speak
with me and to answer all questions and state all facts to the best of her
recollection. This is a summary of the interview.

Myriah Deal was asked about what happened on July 27, 2022, and
Myriah Deal stated that her father Leavy Deal and herself were on their way
to pick up coffee from speedway on 95" and Southwest highway while on
their way to work. Myriah Deal stated that her father Leavy Deal told her to
start filming because he saw the police at the gas station. Myriah Deal stated
that she saw the young man now know as Hadi Abuatelah run away from the
police officers for a short time, no more than a couple of seconds or a few
feet away. Myriah Deal stated that the Mr. Abuatelah stopped running and
the police tackled him to the ground. Myriah Deal stated that the officers
started punching him. Myriah Deal stated that it was 2 officers at first then a
3" one joined in. Myriah Deal stated that one of the officers wrapped Mr.
Abuatelah hair around his hand and started punching Mr. Abuatelah in the
face. Myriah Deal stated that Mr. Abuatelah never reached for anything or
motioned towards the officers like he had a gun or was a threat so she didn’t
understand why they were beating on him.

Myriah Deal was asked if she was paid, forced, or threatened to give
this statement and Myriah Deal stated that she was not paid, forced, or
threatened to give this statement. Myriah Deal was thanked for her time and
the interview was concluded.

PLAINTIFF’S
EXHIBIT

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